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Krohn &, MoSS, Ltd.

10474 Senta Monica Blvd., Suite 405
Los Angeies, CA 90025

T: (323) 988-2400, eXt 241

F: (866) 861-1390
rlee@eonsumerlawoemer.com

 

WEINERMAN <§’e_; ASSOCIATES, LLC,

Defendent.

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INTROI)`UCTION

U.S.C. 1692 ez-Seq. (“FDCPA”).

 

 

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195pr § PLAIN'I`IFF’S COMPLAINT

Ry:m L@@, Esq. (SBN 235379) `

Case 2:14-cV-00160-F'I\/|O-CW Document 1 Fi_|ed 01/08/14 Page 1 0f8 Page |D #:5

 

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Praetiees Act, Cai. Civ. Code §1788 et seq (_“RFDCPA”).
~ - -- - - --JUR-IS])I(-I'I-`ION AND\F»ENUE 7

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Ati;orney for Piaintiff,
ER.}N KELLY
UNITED STATES DISTRICT COURT
CENTRAL })ISTRICT OF CALIFORNIA
WESTERN DIVISION
ERIN KELLY,
Plaintiff, Case ..
v. PLA.INTIFF’S COMPLAINT

Plaintiff, BRIN KELLY (“Piaintiff”), through her attomeys, KROI-IN & MOSS, LTD.,
alleges the following against Defendani, WEINERMAN & ASSOCI.ATES, LLC (“Defendant”):

1. Count l of Plaintiff`$ Complaint is based on the Feir Debt Co§lection Prectices Aot, 15

2. Count ll of the Pla`mtif?$ Complaint is based on Rosenthal Fair D_ebt Colleetion

3. Jurisdiction of this eyequ aljises pursuant to 15 U.S.C. 1692k(d), Which etates ihat each

_ aetior;s may be brought land heard before “zmy appropriate United States district eouz’c

 

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Case 2:14-cV-00160-FI\/|O-CW Document 1 Filed 01/08/14 Page 2 of 8 Page |D #:6

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14.

Witbont regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court
supplemental jurisdiction over the state claims contained Witbin.
Defendant conducts business in the State of California, and therefore, personal
jurisdiction is established
Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
PARTIES

Plaintit`f is a natural person residing in Los Angeles, Los Angeles County, California.
Plaintift` is a consumer as that tenn is defined by 15 U.S.C. 1692a(3), and according to
Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5)
and Cal. Civ. Code § 1788.2(1:1):.,;;:'_5< ‘
Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and Cal. Civ.
Code §1788.2(0), and sought to collect a consumer debt from Plaintiff.
Det`endant is a coilection business Wi.th a business office in Burnsville, Minnesota.
Deferidant acted through its agents, employees, officers, members, directors, beirs,
successors assigns, principals, trustees, sureties, subrogees, representatives and
insurers

E<`ACTUAL ALLEGATIONS
Defendant is attempting to collect a credit card debt from Plaintift` on behalf of the
original creditor, US Bank. n
Plaintiff’ s alleged-debt arises from transactions for personal, family, and household
purposes
ina or aronnd Novernber of `2()1.3,~ .Defendant .placed.. collection calls ._to .Plainti§t` s
telephone number (310) 422»30xx and left a voicernail message
in the voicerna;il message, Der"endant’s representative “Mike Oppenbeinier,” failed to

disclose that the call Was being placed by a debt collector, and faiied to disclose that the

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PLAINTIFF ’ S COMPLA__INT

 

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‘Case 2:14-cV-00160-FI\/|O-CW Document 1 Filed 01/08/14 Page 3 of 8 Page |D #:7

call Was being placed to collect an alleged debt See Transcribed Voicernail Message
attached hereto as Exbibit “A.”

15. fn the voicenrail message, Defendant’s representative “l\/iike Oppenheirner,” directs
Piaintiff to return the call to telephone number (952) 388-0486, Wbicl'i is a number that
belongs to Defendant. See Exbibit A.

16. Det`endant is using false, deceptive and misleading means in connection With attempting
to collect a debt by not identifying the purpose of its phone calls or that they are an
attempt to collect a debt

COUNT l
DEFENDANT VIOLATED THE FAIR DEB’I` COLLECTION PRACTICES ACT
17. Defendant violated the FDCPA based on the following
a. Defendant violated §1692e of the FDCPA_ by using false, deceptive, and
misleading representations in connection Witli the collection of any debt
b. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an
attempt to collect a debt
c. Defendant violated §1692e(l l) of the FDCPA by faiiing to disclose in
subsequent communications that the communication Was from a debt collector.
WHEREFORE, Plaintiff, ERIN K.ELLY respectiiilly requests judgment be entered
against Det`endant, W`EINERMAN & ASSOCIATES, INC., for the following
18. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15

U.S.C. 16921<,

.,.._

~~ -l--9.'Costs and reasonable attorneysi fees.pursuant.to~th`el?air Debt‘ Collection Practices Act, . . .. l 1 .. __

15 U.s.c. 16921<. `.,`.

20. Any other relief that this Honorabie Court deems appropriate

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PLATN'Z`IFF’S COMPLAINT

 

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Case 2:14-cV-00160-FI\/|O-CW Document 1 Filed 01/08/14 Page 4 of 8 Page |D #:8

DEFENI)ANT VIOLATED THE §S§HI;I§TI;ML FAIR DEBT COLLECTION
PRACTICES ACT
21. Plaintiff repeats and realleges all of the allegations in Count 1 of Plaintift`s Cornplaint as
the allegations in Count ll of Plaintifi’ s Cornplaint.
22. Defendant violated the RFDCPA based on the following
a. Defen_dant" violated the §1788.1'7 of the RFDCPA by continuously failing to
comply with the statutory regulations contained Within the FDCPA, 15 U.S.C. §
1692 et seq. to Wit: Section § 1692e.
WHERE-FORE, Plaintiff, ERIN KELLY respectfully requests judgment be entered
against Defendant, WElNERl\/IAN & ASSOCI_ATES, LLC, for the following
23. Statutory damages of 31000.00 pursuant to the Rosenthal Fair Debt Coilection Practices
Act, Cal. Civ. Code §1788.30(b),

24. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection

 
 
 

Practices Act, Cal. Civ Code § 1738,30 , and
25. Any other relieic that this Honorable C urt deems appropriate
PECTFULLY SUBMITTED,

DATED: lanuary 3, 2014 OHN & MOSS, LTD.

 

By:

Ryan Lee
Attorney for Plaintiff

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PLAI.NTIFF’S COMPLAIN'§`

 

Case 2:14-cV-00160-FI\/|O-CW Document 1 Filed 01/08/14 Page 5 of 8 Page |D #:9

 

UNITED STATES I)ISTRIC'I` COURT
CENTRAL DISTRICT OF CALIFORNIA

ERlN KBLLY cAs.e wci/rena

v. M… tv 11 mac 1 sam

WEINER_MAN & ASSOCIATES, LLC

 

 

SUMMONS
DEPENDANr(s).

 

 

TO: DEFENDANT(S): PORTFOLIO RBCOVERY ASSOCIATES, LLC
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached Mcomplaint l:l amended complaint
l:l counterclaim 111 cross-clairn or a motion under Rule 12 of the Federal Rules of Civil Procedure. 'l`he answer
or motion must be served on the plaintit`t"s attorney, Rvan LC€_ ESQ. . whose address is
Krohn & l\/ioss, Ltd.; 10474 Santa Monica Blvd., Suite 405: Los Angeles, CA 90025 . lt you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint You also must tile
your answer or motion with the court

 

Clerk, U.S. District Court , """

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[Use 60 days z'frhe dej%ndant is the Uaited Slates or a Uaz'ied States agency, or is an ojj‘z`cer or employee ofthe Uniled Stcrtes. Allowed
60 days by Rule IZ(cr)(.?)].

 

CV»O 1 A (12/@ 7) SUl\/EMONS

CaSe 2:14-0v-OQJ:@¢®§EMQ1€s/Mrsrkeomnent,temiiner£i§r@tndér cReser@rnf 8 Page lD #:10
` C§Vli, COVER SHEET

 

i. (a} FLAINT|FFS ( C?seck box if you ere representing yourself §:] )
WEINERMAN & ASSOC|ATES, LLC

DEF£NDANTS

( Check box if you are representing yourself ll )

WE|NERMAN 81 ASSGC|A'¥'ES, LLC

 

{b) Attorneys (Firrn Name, Adoress and Teiephone Number. if you
are representing yourself, provide same information.}

Krohn & Nioss, Ltd.,' Ryan Lee, Esq. 10474 Santa Monica B|vd., Sn§te 405; Los Ange|es,

CA 90025 (323) 988-2400

 

(b) Attomeys {Firm Name, Address and Te|ephone Number. if you
are representing yourself provide same information.}

 

 

 

§E. BASIS OF JUR|SDICT}ON {Place an X in one box gn|y_) |i¥. CleZENSH_lP OF PR!NC!PA_L I_>ARTIES»For §)iversiry Cases On|y
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Piaintiff Government Not a Party) ' _ of BUS'neSS m ms game
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Defendant of Parties in item ||l} ?Ofel`gn CO'-ml’y [~:3 3 |:} 3 rore'gn Na€'on E 6 l:l 6
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Proceeding State Court Appellate Court Reopener'§ Dlerle (Speflfy) L§tigat;an

 

V. REQUESTED IN COMPLAINT: JURY DEMA\\¥D: Ye$ 13 §\Io {Cl'i€‘C§< "Y€*S" only ifdemanoied in compl&in'§¢)_ ._
[:§ MONEY DE'N¥AN§)ED lN COMP§”AINT: $ '

CLASS ACTION under F.R.CV.P. 23:

[:]Yes No

 

Vl. CAuSE 0¥" ACT§ON (Cite the U.S. Civi£ Statute under which you are filing and write a brief stazement of cause. Do not cite _§ur:'sdictiona| statutes unless diversity.}
15 USC1692 et seq.; Unlawfu| and Abusive Debt Col§ectior; Practices

 

Vil. NATURE O¥-“ SU|T (Place an X in one box onEy).

 

 

 

    

 

  

  

 

 

 

 
    
 
     

 

    
  
 

  

 

 

 

   
    
  

 
 

         
  
 

    
  

 

 

 

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CIV|L COV£R SHE?:'T

Page 1 of 3

Case 2:14-cv-00160-FI\/|O-CW Document 1 Filed 01/08/14 Page 7 of 8 Page |D #:11
UN¥TED S'¥`ATES DiSTR|CT COURT, CENTRAL DISTRICT GF CAL|FORN!A
civii. coven sHEET

Vlfl. VENUE: ‘(our answers to the questions beiow will determine the division oft?ie Court to which this case will most iike§y be initia§iy assigned `i°h§s initial assignment
§s subject to change in accordance with the Court's General Orders, upon review by the Court of your Compiaint or Notice of Remova¥.

 

 

 

 

 

Question A: Was this case removed from
state court?

§:} Ves §§ ?\io |:§ Los Angeies Western
if “no, “ go to Question B. if "yes," check the [:§ Ventura, Santa Barbara, oz San Luis Obispo Westem
box to the tight that appliesr enzer the h
Coi'responding division iri response to 13 Orange Sout em
Question D, be§ow, and skip to 5ecti`on lX. E

|E R§verside or San Berriardino aST-"Em

 

 

 

 

 

Question B: is the United States, or one
its agencies or employees a party to this
action?

ii Yes §] No

if "no, " go to Quest§on C. if "yes," check fha LGS i°\ng@|@$ LOS Angel€$ W@St€rn

box m me I?gh{ t,hf"t_ applies' amer the Ventura, Santa Barbaza, oz San Luis Ventora, Santa Barbara, or San Luis
corresponding division in response to Obis
Question D, be§ow, and skip to Section lX.

Western

Ora nge Oi'ange Southern

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Other Other Western

 

n indicate the %ocation in{whic§i a
majority of plaintiffs reside:

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C.‘l . ls either of the fofiowing true? if so, check the one that applies: C.Z. ls either of the following true? if so, check the one that applies:
|:§ 2 or more answers in Column C |:3 2 or more answers in Coiurnn D
|: only i answer§n Column C and no answers in Column D ' [:§ only 1 answer iri Co|urnn D and no answers in Column C
Your case will initially be assigned to the Your Case Wili initially be assigned to the
SOUTHERN Dl\i‘|S|Oi\%. EASTERN D|V|S|ON.
Enter“$outherri" in response to Question D. be§ow. Enter"Easte-rn" in response to Question Dr below,
if none ap;Jiies, answer question CZ to the rightl mm§ if none applies go to the box beiow. §

 

 

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WESTERN DlV§S|ON.
Enter "Western" in response to Quest§on D below.

 

 

 

 

 
  

 
 

Enter the initiai division determined by Qoestion A, B, or C above: nw WESTERN

   

 

 

C\i'-'H (09/13) CW|L COVER SHEET ` Page 2 of 3

Case 2:14-cv-00160-FI\/|O-CW Document 1 Filed 01/08/14 Page 8 of 8 Page |D #:12

UNFTED STA'§“ES DlSTRiCT COURT, CENTRAL DISTRECT OF CALHFORN£A
" _ ClVEL COVER SHEET

lX{a}. iDENTlCAL CASES: Has this action been previously filed in this court and dismissed remanded or closed? NO |:] YES

if yes, iist case number(s):

 

lX{b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO [:] YES

if yes, list case number{s):

 

Civ§i cases are deemed related if a previously filed case and the present case:

(Check an boxes that app|y) [:z A. Arise from the same or closely related trai'zsact‘ionsr happenings or events; or
{:§ B. Cai£ for determination of t e ame or substantially related or similar questions of law and fact; or

ij C. For other reasons wool nt i substantial duplication of labor if heard by dif'§erent}udges; or

 

[:} D. involve the same pat n , tr demark or copyright and one of the factors identified above in a, b or c also is present

.r /'\ . -
x. sioNAruRE or A"rronne¥ ///// `\
{OR SELF~REPRESENTED LlTlGAN“Y}: V \ DATE: 1/3/2014
Notii:e to Counse!/Parties: "l“ne CV»?’i {}5~44} Cl`vi$ Co e Sheet and the information contained herein neither replace nor Suppiement the filing and service of p¥eadings or

other papers as required by ¥aw. This form, approved the judicial Conference of the United States in Septernber i97¢i~. is required pursuant to §_oca| §ule B-i is not filed
but is used by the C|erk of the Court for the purpose statistics, venue and initiating the civil docket sheet [For more detailed instructionsr see separate instructions sheet).

 

 

 

Key to Statistica| codes relating to Sociai Security Cases: ` _,
Nature of Suit Code Abbreviation Substa ntive Sta'cement of Cause of Action

."-\|| claims for health insurance benefits (Medicare} under Title 18, Part A, Of the Soc`ial SeCurity Act, as amended. Also,

351 H|A include claims by hospitals skilled nursing facilitiesr etc., for certifrcation as providers of services under the program
(42 U.S.C. 1935PF(b))

862 BL A|| claims for "B|ack Lung" bener”zts under "£“rtie 4, Part B, of the Federal Coal Nii`ne i-iealth and Safety Act of1969.{30 U.S.C.
923) “ ' ”

863 D!WC Al| claims filed by insured Workers for disability insurance benefits under `l`ltle 2 of the Soc`ial Security Act, as amended; plus

1 _ ali claims Eled for chi¥d’s insurance benefits based on disability (42 U.S.C.AOS (g))

863 D!WW A§| claims §i|ed for widows or widowers insurance benents based on disability under Tit|e 2 ofthe SOcia§ Sacurity Act. as
amended {42 U.S.C. 405 {g))
A§l claims for Supp|ernental security income payments based upon disability fi§ed under Tit|e 16 of the Socia§ Security Act, as

854 538 amendedl

865 RS? Ail ciairns for retirement {old age) and survivors benefits under Tit|e 2 of the Social Security Act, as amended
(42 U,S.C. 405 igii

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CV»?T {09113) CIVlL COVER SHEET j. - Page 3 of3

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